Case 8:17-cv-02208-JLS-JDE Document 23 Filed 01/12/18 Page 1 of 3 Page ID #:123
Case 8:17-cv-02208-JLS-JDE Document 23 Filed 01/12/18 Page 2 of 3 Page ID #:124
Case 8:17-cv-02208-JLS-JDE Document 23 Filed 01/12/18 Page 3 of 3 Page ID #:125


              Case 8:17-cv-02208-JVS-JDE Document 12 Filed 12/22/17 Page 3 of 3 Page ID #:89

SECfION III - DESIGNATION OF LOCAL COUNSEL
Wright. David C.
Designee's Name (Last Name. First Name & Middle Initial)
McCune Wright Arevalo. LLP
Firm/Agency Name
3281 E. Guasti Road                                               909-557-1250                             909-557- 1275
Suite 100                                                          Telephone Number                        Fax Number
Street Address                                                    DCW@McCuneWright.com
 Ontario. CA 91761                                                E-mail Address
 City. State. Zip Code                                            177468 '
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel. and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice onaw.
              Dated December 22. 2017                             David C. Wright
                                                                  Designee's Name (please type or print)
                                                                     ~23? :::>~
                                                                  Designee's Signature
SECfION IV - SUPPLEMENT ANSWERS HERE (ATIACH ADDITIONAL PAGES IF NECESSARY)




G·64 (6/16)              APPLICATION OF NON-RESIDENT ATIORNEYTO APPEAR IN A SPECIFIC CASE PRO HAC VICE                         Page 3 of3
